







		NO. 12-07-00221-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




TIMOTHY E. THOMPSON AND

PAMELA THOMPSON,§
	APPEAL FROM THE 114TH

APPELLANTS


V.§
	JUDICIAL DISTRICT COURT OF


EAST TEXAS MEDICAL CENTER,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellants Timothy E. Thompson and Pamela Thompson and Appellee East Texas Medical
Center have filed a joint motion to dismiss this appeal.  In their motion, the parties state that they
have reached a resolution of all issues in this case and request that the appeal be dismissed.  Because
the parties have met the requirements of Texas Rule of Appellate Procedure 42.1(a)(1), the motion
is granted, and the appeal is dismissed.  Each party shall pay the appellate costs that it incurred.

Opinion delivered May 14, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.









(PUBLISH)


